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                                                        United States Department of Justice
                                                        United States Attorney’s Office
                                                        Western District of Texas - El Paso Division


                                                 700 E. San Antonio Ave, Suite 200   Phone: (915) 534-6884
                                                 El Paso, Texas 79901                Facsimile: (915) 534-6024


                                         October 2, 2019


United States District Clerk’s Office
Western District of Texas
525 Magoffin Avenue, Suite 105
El Paso, Texas 79901

               Re:    U.S. v. Maciel Belmiro and
                              Chellima Ribeiro-Silva
                              19-MJ-08729-LS

Dear Sir or Madam:

       This is to advise you that the undersigned Assistant United States Attorney is currently the
attorney assigned to represent the United States in the above-entitled and numbered cause on all
matters forthwith. Please update your records to accurately reflect this information.

       Thank you for your attention to this matter.

                                                  Sincerely,

                                                  JOHN F. BASH
                                                  UNITED STATES ATTORNEY


                                           By:                /s/
                                                  Steve Jurecky
                                                  Assistant United States Attorney
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           Case 3:19-mj-08729-LS Document 1 Filed 10/02/19 Page 3 of 3



                                                        United States Department of Justice
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United States District Clerk’s Office
Western District of Texas
525 Magoffin Avenue, Suite 105
El Paso, Texas 79901

               Re:    U.S. v. Chellima Ribeiro-Silva
                              19-MJ-08729-LS

Dear Sir or Madam:

       This is to advise you that the undersigned Assistant United States Attorney is currently the
attorney assigned to represent the United States in the above-entitled and numbered cause on all
matters forthwith. Please update your records to accurately reflect this information.

       Thank you for your attention to this matter.

                                                  Sincerely,

                                                  JOHN F. BASH
                                                  UNITED STATES ATTORNEY


                                           By:                /s/
                                                  Steve Jurecky
                                                  Assistant United States Attorney
